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                                                                October 13, 2021


              Hon. Bennie G. Thompson
              Chairman
              House Select Committee to Investigate the January 6th Attack
              c/o Kirstin Amerling, Esq.
              1540 A Longworth HOB
              Washington, DC 20515
                              Re:   ��Rhen K. Bannon dated Se tember 2                        1   2021
              Dear Congressman Thompson:
                         I write on behalf of Stephen K. Bannon to respond to some of the inaccurate
              statements made in your letter to me dated October 8, 2021, which purports to address
              the positions taken by Mr. Bannon with respect to the above-referenced subpoena.
                        As an initial matter, your use of the word "defiance" is inappropriate. Mr.
             Bannon's position is not in defiance of your Committee's subpoena; rather, Mr. Bannon
              noted that President Trump's counsel stated that they were invoking executive and
             other privileges and therefore directed us not to produce documents or give testimony
             that might reveal information President Trump's counsel seeks to legally protect. Mr.
              Bannon has testified on three prior occasions, before the Mueller Investigation, the
             House Intelligence Committee and the Senate Intelligence Committee. In each of those
             instances, when President Trump waived his invocation of the executive privileges, Mr.
              Bannon testified.
                         As recently as today, counsel for President Trump, Justin Clark Esq.,
              informed us that President Trump is exercising his executive privilege; therefore, he has
              directed Mr. Bannon not to produce documents or testify until the issue of executive
              privilege is resolved. Your Committee will have the right to challenge that exercise or its
              scope. That is an issue between the Committee and President Trump's counsel and
              Mr. Bannon is not required to respond at this time. See Comm. on the Judiciary v.
              McGahn, 415 F. Supp. 3d 148, FN 34 (D.D.C. 2019) ("The President can certainly
              identify sensitive infom,ation that he deems subject to executive privilege, and his doing




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